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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 TONI CASTELLANO

                                   Plaintiff,
                                                                      Civ. No.: 2:21-cv-04763
                -against-                                                  (JMA) (ARL)

 THE ESTEE LAUDER COMPANIES, INC. and ELC                              ANSWER WITH
 MANAGEMENT LLC                                                   AFFIRMATIVE AND OTHER
                                                                         DEFENSES
                                  Defendants.




                Defendants The Estée Lauder Companies, Inc. (“ELC”) and ELC Management

 LLC (“ELC Management”) (hereinafter collectively “Defendants”), by and through their

 undersigned attorneys, Jackson Lewis P.C., hereby respond to the allegations set forth in the

 Complaint and Demand for Jury Trial (“Complaint”) filed by Toni Castellano (“Plaintiff”) and

 state as follows:

               AS AND FOR AN ANSWER TO “NATURE OF THE ACTION”

                1.       Defendants deny each and every allegation set forth in Paragraph “1” of

 Plaintiffs Complaint, including the footnote referenced therein, and aver that Defendant ELC was

 founded by Estée Lauder and respectfully refer the Court to Defendant ELC’s website at

 www.elcompanies.com for the true and correct contents therein.

                2.       Defendants deny each and every allegation set forth in Paragraph “2” of

 Plaintiffs Complaint.

                3.       Defendants deny each and every allegation set forth in Paragraph “3” of

 Plaintiffs Complaint.
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                 4.      Defendants deny each and every allegation set forth in Paragraph “4” of

 Plaintiffs Complaint.

                 5.      Defendants admit that Plaintiff purports to bring claims pursuant to Title

 VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”) and the

 New York State Human Rights Law, N.Y. Exec. Law § 290 et seq. (“NYSHRL”) to seek redress

 for the harm she allegedly suffered due to the Company’s gender-based discrimination, and

 specifically deny that Plaintiff was subjected to any such discrimination and deny that Plaintiff is

 entitled to any of the relief she seeks.

              AS AND FOR AN ANSWER TO “JURISDICTION AND VENUE”

                 6.      The allegations set forth in Paragraph “6” of Plaintiff’s Complaint state

 conclusions of law to which no response is required. To the extent a response is required,

 Defendants admit that this Court has subject matter jurisdiction, generally, pursuant to Title VII.

                 7.      The allegations set forth in Paragraph “7” of Plaintiff’s Complaint state

 conclusions of law to which no response is required. To the extent a response is required,

 Defendants admit that this Court has supplemental jurisdiction, generally, over the NYSHRL

 claim.

                 8.      Defendants deny each and every allegation set forth in Paragraph “8” of

 Plaintiff’s Complaint and aver that Plaintiff purports that Defendants do business in the State of

 New York and are subject to personal jurisdiction in this District, Plaintiff resided in the District,

 and a substantial part of the events giving rise to this action occurred in this District.




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           AS AND FOR AN ANSWER TO “PROCEDURAL PREREQUISITES”

                9.      Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “9” of Plaintiff’s Complaint and avers

 she filed a charge with the U.S. Equal Employment Opportunity Commission (“EEOC”).

                10.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “10” of Plaintiff’s Complaint and

 respectfully refer the Court to the purported Notice of Right to Sue from the EEOC for the true

 and correct contents therein.

                11.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “11” of Plaintiff’s Complaint and

 respectfully refer the Court to the purported Notice of Right to Sue from the EEOC for the true

 and correct contents therein.

                12.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “12” of Plaintiff’s Complaint.

                13.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “13” of the Plaintiff’s Complaint, and

 aver that Plaintiff is not alleging claims under the New York City Administrative Code.

                          AS AND FOR AN ANSWER TO “PARTIES”

                14.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “14” of Plaintiff’s Complaint and aver

 upon information and belief that Plaintiff is a female who resides in Rockville Centre, New York.




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                15.       Defendants deny each and every allegation set forth in Paragraph “15” of

 Plaintiff’s Complaint, except admit that Defendant ELC is incorporated in Delaware, and is

 qualified to conduct business in New York.

                16.       Defendants deny each and every allegation set forth in Paragraph “16” of

 Plaintiff’s Complaint, except admit that Defendant ELC Management is formed in Delaware, is

 qualified to conduct business in New York and maintains a place of business in Melville, New

 York.

                17.       Defendants deny each and every allegation set forth in Paragraph “17” of

 Plaintiff’s Complaint, including the footnote referenced therein, and aver that at all times relevant

 hereto Defendant ELC Management was Plaintiff’s employer.

               AS AND FOR AN ANSWER TO “FACTUAL ALLEGATIONS”

         A.     As and for an Answer to the “Background”

                18.       Defendants deny each and every allegation set forth in Paragraph “18” of

 Plaintiff’s Complaint, and aver that effective February 3, 2014, Defendant ELC Management hired

 Plaintiff on an at-will basis for the position Director, Facilities Project Management.

                19.       Defendants deny each and every allegation set forth in Paragraph “19” of

 Plaintiff’s Complaint and aver that while some of Plaintiff’s job responsibilities included those

 that she listed in Paragraph “19” of the Complaint it also included other responsibilities.

                20.       Defendants deny each and every allegation set forth in Paragraph “20” of

 Plaintiff’s Complaint.

                21.       Defendants deny knowledge or information sufficient to form a belief

 regarding the allegation set forth in Paragraph “21” of Plaintiff’s Complaint.



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                22.       Defendants deny each and every allegation set forth in Paragraph “22” of

 Plaintiff’s Complaint, and respectfully direct the Court to the development plan for fiscal year

 2017 for its true and correct contents.

                23.       Defendants deny each and every allegation set forth in Paragraph “23” of

 Plaintiff’s Complaint, and respectfully direct the Court to the review for 2020 for its true and

 correct contents.

        B.      Defendants Deny that “The Company Discriminated Against Ms. Castellano
                On The Basis of Gender”

                24.       Defendants deny each and every allegation set forth in Paragraph “24” of

 Plaintiff’s Complaint.

                25.       Defendants deny each and every allegation set forth in Paragraph “25” of

 Plaintiff’s Complaint.

                26.       Defendants deny each and every allegation set forth in Paragraph “26” of

 Plaintiff’s Complaint.

                i.        As and For an Answer to the “The February 6, 2021 Incident”

                27.       Defendants deny each and every allegation set forth in Paragraph “27” of

 Plaintiff’s Complaint and aver that an incident occurred on February 6, 2021 involving damage to

 a Symex kettle during installation.

                28.       Defendants deny each and every allegation set forth in Paragraph “28” of

 Plaintiff’s Complaint.

                29.       Defendants deny each and every allegation set forth in Paragraph “29” of

 Plaintiff’s Complaint.




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                30.       Defendants deny each and every allegation set forth in Paragraph “30” of

 Plaintiff’s Complaint.

                31.       Defendants deny each and every allegation set forth in Paragraph “31” of

 Plaintiff’s Complaint.

                32.       Defendants deny each and every allegation set forth in Paragraph “32” of

 Plaintiff’s Complaint.

                33.       Defendants deny each and every allegation set forth in Paragraph “33” of

 Plaintiff’s Complaint.

                34.       Defendants deny each and every allegation set forth in Paragraph “34” of

 Plaintiff’s Complaint, and aver that Adam Stein, Noel Natal and Daniel Huaman were on the

 project engineering team.

                35.       Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “35” of Plaintiff’s Complaint.

                36.       Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “36” of Plaintiff’s Complaint.

                37.       Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “37” of Plaintiff’s Complaint, and aver

 that Jen Casey was a third-party contractor employed by Project Risk Analytics, LLC.

                38.       Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “38” of Plaintiff’s Complaint.

                39.       Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “39” of Plaintiff’s Complaint.



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                40.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “40” of Plaintiff’s Complaint.

                41.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “41” of Plaintiff’s Complaint, including

 the footnote referenced therein.

                42.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “42” of Plaintiff’s Complaint.

                43.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth Paragraph “43” of Plaintiff’s Complaint, and

 respectfully refer the Court to the site safety manager’s report for its true and correct contents.

                44.     Defendants deny each and every allegation set forth in Paragraph “44” of

 Plaintiff’s Complaint and aver that Plaintiff and Adam Stein texted each other on Saturday,

 February 6, 2021 at 1:08 p.m. and again at 2:32 p.m., and respectfully direct the Court to these

 texts for the true and correct content thereof.

                45.     Defendants deny each and every allegation set forth in Paragraph “45” of

 Plaintiff’s Complaint and aver that Plaintiff and Mr. Stein texted each other on Saturday, February

 6, 2021 at 1:08 p.m. and again at 2:32 p.m., and respectfully direct the Court to the texts for the

 true and correct content thereof.

                46.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “46” of Plaintiff’s Complaint.

                47.     Defendants deny knowledge or information sufficient to form a belief as to

 the truth or falsity of the allegations set forth in Paragraph “47” of Plaintiff’s Complaint.



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                ii.       Defendants Deny that “In the Aftermath of the Incident The Company
                          Improperly Blames Ms. Castellano and Manufactures A Bogus Pretext
                          To Punish Her Far More Harshly Thank The More-Culpable Male
                          Employees.”

                48.       Defendants deny each and every allegation set forth in Paragraph “48” of

 Plaintiff’s Complaint.

                49.       Defendants deny each and every allegation set forth in Paragraph “49” of

 Plaintiff’s Complaint and aver that a prompt and appropriate investigation was conducted into the

 matter.

                50.       Defendants deny each and every allegation set forth in Paragraph “50” of

 Plaintiff’s Complaint.

                51.       Defendants deny each and every allegation set forth in Paragraph “51” of

 Plaintiff’s Complaint, and aver that on February 23, 2021 and March 1, 2021 Executive Director,

 Human Resources Business Partner, Supply Chain, Susan Berdel interviewed Plaintiff in

 connection with the investigation regarding the incident at issue.

                52.       Defendants deny each and every allegation set forth in Paragraph “52” of

 Plaintiff’s Complaint and aver that during the investigation Ms. Berdel asked Plaintiff about

 whether she was alone in her car at the time of the incident, which was relevant to the investigation.

                53.       Defendants deny each and every allegation set forth in Paragraph “53” of

 Plaintiff’s Complaint.

                54.       Defendants deny each and every allegation set forth in Paragraph “54” of

 Plaintiff’s Complaint.

                55.       Defendants deny each and every allegation set forth in Paragraph “55” of

 Plaintiff’s Complaint.


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                56.       Defendants deny each and every allegation set forth in Paragraph “56” of

 Plaintiff’s Complaint.

                57.       Defendants deny each and every allegation set forth in Paragraph “57” of

 Plaintiff’s Complaint.

                58.       Defendants deny each and every allegation set forth in Paragraph “58” of

 Plaintiff’s Complaint.

                59.       Defendants deny each and every allegation set forth in Paragraph “59” of

 Plaintiff’s Complaint and aver that effective March 17, 2021 Plaintiff’s at-will employment was

 lawfully terminated.

                60.       Defendants deny each and every allegation set forth in Paragraph “60” of

 Plaintiff’s Complaint.

                61.       Defendants deny each and every allegation set forth in Paragraph “61” of

 Plaintiff’s Complaint.

                62.       Defendants deny each and every allegation set forth in Paragraph “62” of

 Plaintiff’s Complaint.

                63.       Defendants deny each and every allegation set forth in Paragraph “63” of

 Plaintiff’s Complaint.

                64.       Defendants deny each and every allegation set forth in Paragraph “64” of

 Plaintiff’s Complaint.

                65.       Defendants deny knowledge or information regarding the truth or falsity of

 the allegations set forth in Paragraph “65” of Plaintiff’s Complaint.

                66.       Defendants deny knowledge or information regarding the truth or falsity of

 the allegations set forth in Paragraph “66” of Plaintiff’s Complaint.

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                67.       Defendants deny knowledge or information regarding the truth or falsity of

 the allegations set forth in Paragraph “67” of Plaintiff’s Complaint.

                                   CAUSES OF ACTION
            AS AND FOR AN ANSWER TO THE FIRST CAUSE OF ACTION
          “(Discrimination in Violation of Title VII of the Civil Rights Act of 1964)”

                68.       Defendants repeat and reallege each of their denials and other responses to

 the allegations set forth in Paragraphs “1” through “67” of Plaintiff’s Complaint, as if fully set

 forth herein in response to Paragraph “68” of Plaintiff’s Complaint.

                69.       Defendants deny each and every allegation set forth in Paragraph “69” of

 Plaintiff’s Complaint.

                70.       Defendants deny each and every allegation set forth in Paragraph “70” of

 Plaintiff’s Complaint.

                71.       Defendants deny each and every allegation set forth in Paragraph “71” of

 Plaintiff’s Complaint.

                72.       Defendants deny each and every allegation set forth in Paragraph “72” of

 Plaintiff’s Complaint.

                73.       Defendants deny each and every allegation set forth in Paragraph “73” of

 Plaintiff’s Complaint.

                74.       Defendants deny each and every allegation set forth in Paragraph “74” of

 Plaintiff’s Complaint.

                75.       Defendants deny each and every allegation set forth in Paragraph “75” of

 Plaintiff’s Complaint.




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            AS AND FOR AN ANSWER TO THE SECOND CAUSE OF ACTION
                           “(Discrimination in Violation of the
             New York State Human Rights Law, N.Y. Exec. Law § 290 et seq.)”

                 76.      Defendants repeat and reallege each of their denials and other responses to

 the allegations set forth in Paragraphs “1” through “75” of Plaintiff’s Complaint, as if fully set

 forth herein in response to Paragraph “76” of Plaintiff’s Complaint.

                 77.      Defendants deny each and every allegation set forth in Paragraph “77” of

 Plaintiff’s Complaint.

                 78.      Defendants deny each and every allegation set forth in Paragraph “78” of

 Plaintiff’s Complaint.

                 79.      Defendants deny each and every allegation set forth in Paragraph “79” of

 Plaintiff’s Complaint.

                 80.      Defendants deny each and every allegation set forth in Paragraph “80” of

 Plaintiff’s Complaint.

             AS AND FOR AN ANSWER TO “DEMAND FOR A JURY TRIAL”

                 81.      Defendants admit that Plaintiff requests a jury trial on all issues to be tried

 but, except as so admitted, deny that Plaintiff is entitled to a jury trial and deny all of the remaining

 allegations set forth in Paragraph “81” of Plaintiff’s Complaint.

         AS AND FOR AN ANSWER TO PLAINTIFF’S “PRAYER FOR RELIEF”

                 Defendants deny all allegations and any claim for relief set forth in the “PRAYER

 FOR RELIEF” clause to Plaintiff’s Complaint, including sub-paragraphs “A” through “G,” and

 specifically deny that Plaintiff is entitled to any of the relief she seeks.

                                         GENERAL DENIAL

                 Defendants deny all claims and allegations not unequivocally admitted herein.

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                          AFFIRMATIVE AND OTHER DEFENSES

                Without assuming the burden of proof as to any of the following defenses where

 the law does not impose such burden on Defendants, Defendants assert the following defenses:

                               AS AND FOR A FIRST DEFENSE

                Plaintiff’s Complaint fails, in whole or in part, to state a claim upon which relief

 can be granted.

                             AS AND FOR A SECOND DEFENSE

                Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of

 limitations.

                              AS AND FOR A THIRD DEFENSE

                Any and all actions taken by Defendants with regard to Plaintiff were based on

 legitimate, non-discriminatory business reasons, and would have been taken regardless of

 Plaintiff’s gender.

                             AS AND FOR A FOURTH DEFENSE

                Plaintiff’s claims for discrimination are barred and/or any recovery of damages is

 precluded, in whole or in part, because Defendants exercised reasonable care to prevent and

 promptly correct any alleged discriminatory behavior.

                               AS AND FOR A FIFTH DEFENSE

                Plaintiff’s claims for discrimination are barred and/or any recovery of damage is

 precluded because Plaintiff unreasonably failed to take advantage of Defendants’ preventive

 and/or corrective opportunities or to otherwise avoid her alleged harm.




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                               AS AND FOR A SIXTH DEFENSE

                Plaintiff’s claims for damages are barred, in whole or in part, because she failed to

 use reasonable diligence to mitigate and/or minimize her alleged damages.

                             AS AND FOR A SEVENTH DEFENSE

                Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches, estoppel,

 waiver, the after-acquired evidence doctrine, and/or other equitable defenses.

                             AS AND FOR AN EIGHTH DEFENSE

                Plaintiff’s claims are barred, in whole or in part, because she did not suffer damages

 attributable to any allegedly wrongful conduct by either or both of the Defendants and/or because

 any damages or injuries were caused by Plaintiff’s own conduct or the conduct of third parties.

                               AS AND FOR A NINTH DEFENSE

                Plaintiff is not entitled to recover any punitive damages against Defendants

 because, inter alia, Defendants acted in good faith and did not commit, ratify, authorize or

 acquiesce in any malicious, willful, or reckless acts or omissions.

                               AS AND FOR A TENTH DEFENSE

                Assuming, arguendo that Plaintiff is able to establish that her gender played any

 part in any decisions of which she complains in the Complaint, Defendants would have made the

 same decisions even in the absence of any unlawful consideration.

                           AS AND FOR AN ELEVENTH DEFENSE

                Plaintiff’s claims for damages under Title VII are limited by the applicable statutory

 damage caps on punitive and compensatory damages as a matter of law.

                             AS AND FOR A TWELFTH DEFENSE

                To the extent that Plaintiff engaged in acts of misconduct prior to or during her

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 employment, which, if known, would have resulted in the denial of employment or termination of

 her employment, any relief awarded to Plaintiff should be reduced, in whole or in part, because

 Plaintiff engaged in such misconduct.

                           AS AND FOR A THIRTEENTH DEFENSE

                Plaintiff’s claims are barred, in whole or in part, because Claimant failed to satisfy

 certain conditions precedent and/or jurisdictional prerequisites prior to filing this action.

                           AS AND FOR A FOURTEENTH DEFENSE

                To the extent that Plaintiff seeks to recover punitive damages under the NYSHRL,

 this claim for damages is barred because punitive damages are not available under the NYSHRL

 as a matter of law.

                            AS AND FOR A FIFTEENTH DEFENSE

                Defendants reserve the right to amend their answer to raise additional affirmative

 or other defenses or to pursue any available counterclaim against Plaintiff as those claims or

 defenses become known during the litigation.

                WHEREFORE, Defendants respectfully request that this Court:

                a.      Dismiss Plaintiff’s Complaint in its entirety, with prejudice;

                b.      Deny each and every demand, claim, and prayer for relief contained therein;

                c.      Award Defendants’ reasonable attorneys’ fees and costs incurred in

                        defending against this meritless action; and

                d.      Grant such other and further relief to Defendants as the Court deems just

                        and proper.




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                                     Respectfully submitted,

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                                      Itill~ ~ ~
                               By:   __________________________
                                     Todd H. Girshon

                                     Attorneys for Defendants

 Dated: New York, New York
        November 1, 2021



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